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                              UNITED STATES BANKRUPTCY COURT
                               NORTHERN DISTRICT OF GEORGIA
                                      ATLANTA DIVISION


IN RE:                                           :             CASE NO. 20-62169-LRC
                                                 :
CYNTHIA ANDERSON-GRAYSON,                        :             CHAPTER 7
                                                 :
          Debtor.                                :
                                                 :
                                                 :
S. GREGORY HAYS,                                 :
Chapter 7 Trustee for the Estate of              :
Cynthia Anderson-Grayson,                        :
                                                 :
                                                 :
          Plaintiff,                             :
                                                 :
v.                                               :             ADV. PRO. NO.
                                                 :
MICHAEL L. GRAYSON,                              :
                                                 :
          Defendant.                             :
                                                 :

                                             COMPLAINT

          COMES NOW S. Gregory Hays, as Chapter 7 Trustee (“Trustee” or “Plaintiff”) for the

bankruptcy estate (the “Bankruptcy Estate”) of Cynthia Anderson-Grayson (“Debtor”), by and

through undersigned counsel, and files this Complaint against Michael L. Grayson (“Defendant”),

and respectfully shows the Court as follows:

                                        Jurisdiction and Venue

          1.        This Court has jurisdiction over this proceeding under 28 U.S.C. §§ 1334 and 157

and 11 U.S.C. §§ 548, 550 and 551.

          2.        This adversary proceeding constitutes a core proceeding under 28 U.S.C. § 157

(b)(2).



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        3.     Venue is proper in this Court under 28 U.S.C. § 1409 because this adversary

proceeding arises in the Chapter 7 bankruptcy case of Debtor Cynthia Anderson-Grayson, Case

No. 20-62169-LRC (the “Bankruptcy Case”), pending in the Northern District of Georgia,

Atlanta Division.

        4.     Upon information and belief, Defendant is Debtor’s son.

        5.     Defendant is subject to the jurisdiction of this Court and may be served under

Rule 7004 of the Federal Rules of Bankruptcy Procedure by first class United States Mail as

follows:

                                        Michael L. Grayson
                                        2435 Haverford Way
                                         Decatur, GA 30032

        6.     Plaintiff consents to the entry of final orders or judgment by the Bankruptcy Court

pursuant to Rule 7008 of the Federal Rules of Bankruptcy Procedure.

                                        Statement of Facts

                                      a. General Background

        7.     Debtor initiated the Bankruptcy Case by filing a voluntary petition for relief under

Chapter 13 of Title 11 of the United States Code (the “Bankruptcy Code”) on February 4, 2020

(the “Petition Date”).

        8.     On April 21, 2021, the Bankruptcy Case was converted to a case under Chapter 7.

        9.     Plaintiff was appointed to the Bankruptcy Case as interim Chapter 7 Trustee

pursuant to 11 U.S.C. § 701(a)(1).

        10.    At the conclusion of the meeting of creditors, on October 6, 2020, Plaintiff

became the permanent Chapter 7 Trustee under 11 U.S.C. § 702(d). The duties of Plaintiff




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include an obligation to “collect and reduce to money the property of the [Bankruptcy E]state. . .

.” 11 U.S.C. § 704(a)(1) (2020).

                                b. The Property and the Transfers

        11.    From September of 2001 until June of 2019, Debtor was the owner of that certain

real property with a common address of 1699 Braeburn Drive, Atlanta, DeKalb County, Georgia

30316 (the “Property”)

        12.    On or about June 22, 2019, Debtor signed a warranty deed transferring the

Property to her son, Michael L Grayson for recited consideration of “$21.00 in silver coin” (the

“First Transfer”). The deed through which the transfer to Defendant was accomplished was

recorded in the real property records of DeKalb County (the “Real Estate Records”) at Deed

Book 27917 beginning at Page 698 on or about November 12, 2019 (the “Second Transfer,”

and, together with the First Transfer, the “Transfers”). The Deed references a real estate

transfer tax of $0.00.

        13.    The Second Transfer on November 12, 2019 occurred a little less than three

months before the Petition Date.

        14.    After the Petition Date, US Bank Trust National Association, as Trustee for the

Cabana Series III Trust (“US Bank”), foreclosed the interest of Debtor and of Defendant in the

Property as a result of its first priority security interest in the Property and liquidated its claim

against the Property (the “Claim”). The resulting foreclosure sale proceeds were greater than the

Claim, and US Bank’s attorneys are holding the excess proceeds in the amount of $27,235.70

(the “Excess Proceeds”).

        15.    US Bank recorded a Deed Under Power in the Real Estate Records on October 1,

2020 at Deed Book 28684 beginning at Page 421.



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        16.     Debtor did not list the Transfers in her Statement of Financial Affairs for

Individuals Filing for Bankruptcy [Doc. No. 43].

                                   c. Debtor’s Financial Condition

        17.     On her Schedule E/F: Creditors Who Have Unsecured Claims, Debtor scheduled

total unsecured claims of $451,634.00 [Doc. No. 43 at page 20 of 23].

        18.     Debtor scheduled total assets with a value of $225,000.00, consisting solely of the

Property. [Doc. No. 24 at page 10 of 20].

        19.     Upon information and belief, Debtor’s financial condition did not materially

change from the date of the Transfers to the Petition Date.

                                             COUNT I

                                      (Avoidance of Transfers
                                   under 11 U.S.C. § 548(a)(1)(B))

        20.     Plaintiff realleges the allegations of paragraphs 1 through 19 above as though

fully set forth herein.

        21.     The Transfers were transfers of an interest of Debtor in property.

        22.     The Transfers were within two (2) years of the Petition Date.

        23.     Debtor received less than reasonably equivalent value in exchange for the

Transfers.

        24.     Debtor was insolvent on the date of the Transfers or became insolvent as a result

thereof.

        25.     The Transfers were made to or for the benefit of an insider.

        26.     Pursuant to 11 U.S.C. § 548(a)(1)(B), Plaintiff is entitled to avoid the Transfers

made by Debtor to Defendant.




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                                             COUNT II

                                       (Avoidance of Transfers
                          under 11 U.S.C. § 548(a)(1)(A), Alternative Count)

        27.      Plaintiff realleges the allegations of paragraphs 1 through 26 above as though

fully set forth herein.

        28.      The Transfers constituted transfers of an interest of the Debtor in property.

        29.      The Transfers were made within two (2) years of the Petition Date.

        30.      At the time of the Transfers, the Debtor was insolvent, or the Transfers rendered

her insolvent.

        31.      The Debtor made the Transfers with the actual intent to hinder, delay, or defraud

her creditors, as evidenced by the following “badges of fraud:” (a) Debtor received no monetary

consideration or value in exchange for the Transfers; (b) the Transfers were to or for the benefit

of an insider, her son; (c) the Transfers occurred within two (2) years of the Petition Date;

(d) prior to and at the time of the Transfers, the Debtor had substantial debts which remain

unpaid; and (e) Debtor was insolvent or rendered insolvent as a result of the Transfers.

        32.      Under 11 U.S.C. § 548(a)(1)(A), Plaintiff is entitled to avoid the Transfers made

by Debtor to Defendant.

                                             COUNT III

                                 (Recovery of the avoided transfers
                                      under 11 U.S.C. § 550)

        33.      Plaintiff realleges the allegations of paragraphs 1 through 32 above as though

fully set forth herein.

        34.      Defendant was the initial transferee of the Transfers and/or the person for whose

benefit the Transfers were made.



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        35.     Pursuant to 11 U.S.C. § 550(a)(1), Plaintiff is entitled to recover for the Estate the

Property interest transferred through the Transfers, or the value of the avoided Transfers, from

Defendant.

                                            COUNT IV

                              (Preservation of the avoided transfers
                                     under 11 U.S.C. § 551)

        36.     Plaintiff realleges the allegations of paragraphs 1 through 35 above as though

fully set forth herein.

        37.     Once avoided, the Transfers are automatically preserved for the benefit of the

Estate, pursuant to 11 U.S.C. § 551.

        WHEREFORE, Plaintiff prays that this Court enter a judgment in favor of Plaintiff and

against Defendants:

        a)    avoiding the Transfers pursuant to 11 U.S.C. § 548(a)(1)(B);

        b)    alternatively, avoiding the Transfers pursuant to 11 U.S.C. § 548(a)(1)(A);

        c)    requiring Defendant to return to Plaintiff the interest in the Property transferred

              through the Transfers, or, alternatively, finding Defendant liable for the value of the

              Transfers pursuant to 11 U.S.C. § 550;

        d)    preserving the avoided Transfers for the benefit of the Estate, pursuant to 11 U.S.C. §

              551;

        e)    reimbursing Plaintiff for all costs incurred in this action, including interest and

              attorney’s fees; and




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        f)    granting such other and further relief as is just and proper.

             Respectfully submitted this 15th day of December, 2021.

                                                ARNALL GOLDEN GREGORY LLP
                                                Attorneys for Plaintiff

                                                By: /s/ Michael J. Bargar
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